Case: 1:19-cv-00398-SJD-SKB Doc #: 18 Filed: 10/21/19 Page: 1 of 2 PAGEID #: 126




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION


     ANDREA GOLDBLUM                                       Case No. 1:19-CV-00398

     Plaintiff,                                            Judge: DLOTT

     v.
                                                           OBJECTIONS TO REPORT AND
     THE UNIVERSITY OF CINCINNATI,                         RECOMMENDATION (DOC#17)

     Defendant



          Pursuant to Fed. R. Civ. P. 72, Plaintiff Andrea Goldblum (“Goldblum”) respectfully submits

this Objection to the Report and Recommendation (R&R). (Doc#17.)

          Goldblum objects to the R&R’s conclusion that the claim in Count II of the Complaint (the

Title VII Retaliation Claim) should be dismissed.

          Goldblum, as noted by the R&R Plaintiff brought a Title VII claim as an alternative in the

event that UC argued that Plaintiff’s Title IX claims are preempted by Title VII. The R&R noted that

while UC has not raised a pre-emption argument, this “particular issue remains unsettled in the Sixth

Circuit.” See R&R at 13, citing inter alia Arceneaux v. Vanderbilt Univ., 25 Fed. App'x 345 (6th Cir. 2001);

Whitson v. Tennessee, E.D.Tenn. No. 1:16-cv-9, 2017 U.S. Dist. LEXIS 119602, at *22, n. 19 (July 31,

2017).

          Goldblum is objecting solely for the purposes of retaining any applicable appellate rights and

in the event that the relevant law in the Sixth Circuit regarding pre-emption changes while this case is

pending. Consistent with this purpose, Goldblum repeats the argument made in the Opposition to

the Motion to Dismiss: Congress has provided a “variety of remedies, at times overlapping, to



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Case: 1:19-cv-00398-SJD-SKB Doc #: 18 Filed: 10/21/19 Page: 2 of 2 PAGEID #: 127




eradicate” employment discrimination. N. Haven Bd. of Edn. v. Bell, 456 U.S. 512, 535 n. 26 (1982), citing

Electrical Workers v. Robbins & Myers, Inc., 429 U.S. 229 (1976); Johnson v. Railway Express Agency, Inc., 421

U.S. 454 (1975); Alexander v. Gardner-Denver Co., 415 U.S. 36 (1974). Accordingly, when a funding

recipient retaliates against a person because she complains of sex discrimination, that violates Title

VII and Title IX. See Ivan v. Kent State Univ., 6th Cir. No. 94-4090, 1996 U.S. App. LEXIS 22269, at *2

n.10 (July 26, 1996) (unpublished table decision) (suggesting that employment discrimination claims

may be pursued under both Title VII and Title IX).



                                                            Respectfully submitted,


                                                                   /s/ Joshua A. Engel
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                                     CERTIFICATE OF SERVICE
   I hereby certify that a copy of the foregoing has been electronically served via the ECF system this
October 21, 2019 upon all counsel of record.

        /s/ Joshua Engel
    Joshua Adam Engel (0075769)




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